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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  JOHN SARMIENTO, ALEXANDER
  ANGELES, GIOVANNI BARQUILER,
  MARK DAQUIL, LITO DE GUZMAN,
  MARVIN DE GUZMAN, ROBERTO
  NASAYAO, ROWEL PASCUAL and
  ANNABELLE SIBAYAN,

          Plaintiffs,

  v.                                                   CASE NO.: 9:11-cv-81388-KAM

  THE CLUB AT ADMIRAL’S COVE, INC.,

          Defendant.
                                                       /


                                   NOTICE OF SETTLEMENT

          In accordance with the provisions of Local Rule 16.2(g), Plaintiffs John Sarmiento,
  Annabelle Sibayan, Giovanni Barquiler, Mark Daquil, Lito De Guzman, Marvin De Guzman,
  Alexander Angeles, Roberto Nasayao, and Rowel Pascual and Defendant The Club at Admiral’s
  Cove hereby give notice that this case has been resolved through settlement.
          The parties are in the process of entering into a formal settlement agreement and release
  of all claims.


          DATED this 10th day of January, 2013.


                                                       /s/ Vanessa A. Coe
                                                       Vanessa A. Coe, Esq.
                                                       Florida Bar No. 96788
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent by

  Electronic Mail to the following on this 10th day of January 2013;



  Christopher B. Lunny, Esq.
  Radey, Thomas, Yon & Clark, P.A.
  301 South Bronough Street, Ste 200
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                                                      /s/ Vanessa A. Coe
                                                      VANESSA A. COE
